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AO 91 (Rev.        ) Criminal Complaint


                                          UNITED STATES DISTRICT COURT
                                                                 for the
                                                  Eastern District of Michigan

United States of America
   v.
                                                                                    Case: 2:24−mj−30150
                                                                           Case No. Assigned To : Unassigned
                                                                                    Assign. Date : 4/22/2024
Tayjon Maurice ROBERTSON
                                                                                    USA V. SEALED MATTER (CMP)(CMC)




                                                    CRIMINAL COMPLAINT

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

           On or about the date(s) of                   June 23, 2023               in the county of     Wayne and Oakland    in the
         Eastern           District of       Michigan        , the defendant(s) violated:
                    Code Section                                           Offense Description

18 U.S.C. § 922(a)(6)                                     Making a False Statement during the Acquisition of a Firearm




           This criminal complaint is based on these facts:




        Continued on the attached sheet.
                                                                                            Complainant’s signature

                                                                        Special Agent Jimmie Pharr - ATF
                                                                                             Printed name and title
Sworn to before me and signed in my presence



Date:    April 22, 2024                                                                        Judge’s signature

City and state: Detroit, Michigan                                       Honorable Kimberly G. Altman, U.S. Magistrate Judge
                                                                                             Printed name and title
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    AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

     I, Jimmie Pharr, Special Agent for the Bureau of Alcohol, Tobacco,

Firearms and Explosives, being duly sworn, hereby depose and state as

follows:

                        I.    INTRODUCTION

           I have been a Special Agent with the Bureau of Alcohol,

Tobacco, Firearms and Explosives (ATF) since January 17, 2016. I am

currently assigned to the Detroit Field Division. I completed twenty-six

weeks of training, which was comprised of the Criminal Investigator

Training Program and the ATF Special Agent Basic Training program

at the Federal Law Enforcement Training Center in Glynco, Georgia. I

received extensive training on firearms identification, common

scenarios involving firearms and narcotics trafficking, and identification

and effects of controlled substances. Additionally, I received training on

undercover investigations related to firearms and narcotics trafficking,

which included investigative techniques and common subject behavior. I

was also employed as a Detroit Police Officer for the City of Detroit for

approximately three years, 2013-2016. During my employment with the

Detroit Police Department, I conducted and participated in numerous
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criminal investigations focused on individuals who illegally possessed

firearms and narcotics.

           The facts in this affidavit come from my personal

observations, training, experience, and information obtained from law

enforcement officers and witnesses. I have not included every fact

known to law enforcement concerning this investigation. I have only set

forth the facts necessary to establish probable cause that Tayjon

Maurice ROBERTSON violated 18 U.S.C. § 922(a)(6)—making a false

statement during the acquisition of a firearm—on or around June 23,

2023.

                       II.   PROBABLE CAUSE

           As part of its investigation of ROBERTSON for violations of

federal firearm laws, ATF reviewed National Integrated Ballistic

Information Network (“NIBIN”), Detroit Police, and E-Trace reports,

and ATF Form 4473s associated with firearms believed to be purchased

by ROBERTSON. These reports lead to the discovery of at least nine (9)

different firearms purchased by ROBERTSON between November 2021

and May 2023. They are:




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        One (1) Glock Pistol, model 48, purchased November 11,

        2021, at Sportsman’s Warehouse in Troy, MI. Law

        enforcement recovered this firearm during the arrest of

        another individual in May 2023.

        One (1) Glock Pistol, model 17, purchased on November 29,

        2021, at Dunham’s in Dearborn, MI.

        One (1) Glock Pistol, model 19, purchased on April 6, 2022, at

        Dunham’s in Allen Park, MI.

        One (1) Glock Pistol, model 17, purchased on December 11,

        2022, at Sportsman’s Warehouse in Troy, MI. Law

        enforcement recovered this firearm from another individual

        in June 2023.

        One (1) Glock Pistol, model 21, purchased on June 22, 2022,

        at Dunham’s in Allen Park, MI. Law enforcement recovered

        this firearm from another individual in February 2023

        One (1) Taurus Pistol, model G3, purchased on January 13,

        2023, at Sportsman’s Warehouse in Troy, MI.

        One (1) Glock Pistol, model 20, purchased on March 21, 2023,

        at Sportsman’s Warehouse in Troy, MI.


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             Two (2) Taurus Pistols, models G3C, purchased on May 12,

             2023, at Sportsman’s Warehouse in Troy, MI.

             According to law enforcement record, ROBERTSON only

registered one (1) firearm in the State of Michigan pistol registry. This

suggests that ROBERTSON understands he must register pistols that

he purchases for himself but failed to do so for almost all of the firearms

he had purchased.

             On June 28, 2023, ATF executed a federal search warrant at

ROBERTSON’s residence in Detroit, MI. Only one firearm—a Taurus

Pistol, model G3, caliber 9mm, with one round in the chamber and no

round in the magazine—were found. Also recovered from the residence,

among others, are: two (2) pistol sales records for the purchase of a

Glock 20 Pistol and a Micro Draco Pistol on June 23, 2023 from

Uncoiled Firearms, an FFL located in Livonia, MI; and two (2) Pistol

sales receipts for the purchase of a Glock 19 Pistol and a Glock 30 Pistol

on June 23, 2023 from Dunham’s Sports, an FFL located in Farmington

Hills, MI.




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           During a post-Miranda interview on June 28, 2023,

ROBERTSON admitted to purchasing firearms on June 23, 2023, on

behalf of others in exchange for money.

           During this interview, ROBERTSON also confirmed that he

signed the “Firearms Transaction Record,” or ATF Forms 4473 when he

purchased the firearms from Dunham’s Sport on June 23, 2023.

           When an individual purchases a firearm from a federally

licensed firearms dealer, he or she is required to complete an ATF Form

4473. Among other things, the form asks for the purchaser’s name,

address, and other identifying information. It also requires the

purchaser to verify that he or she is the actual intended purchaser of

the firearm. Question 21.a. of Form 4473, “Are you the actual

transferee/buyer of all of the firearm(s) listed on this form and any

continuation sheet(s) (ATF Form 5300.9A)?” Purchasers must check a

box “yes” or “no.” The question is then followed by the following

admonition “Warning: You are not the actual transferee/buyer if

you are acquiring any of the firearm(s) on behalf of another

person. If you are not the actual transferee/buyer, the licensee

cannot transfer any of the firearm(s) to you. Exception: If you are


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only picking up a repaired firearm(s) for another person, you are not

required to answer 21.a. and may proceed to question 21.b.”

           Dunham’s Sport in Farmington Hills is a federally licensed

firearms dealer.

           The ATF Forms 4473 completed in connection with the June

23, 2023 firearm purchases from Dunham’s Sport list ROBERTSON’s

name, date of birth, and address. The name, date of birth, and address

listed on the forms matches the name, date of birth, and address listed

on ROBERTSON’s Michigan driver’s license. Additionally, each Form

4473 has the “yes” box checked for question 21.a.

           Based on the above, there is probable cause to believe that

ROBERTSON purchased firearms from federally licensed firearms

dealers on June 23, 2023. There is further probable cause to believe

that in doing so, ROBERTSON made materially false statements by

indicating on the Form 4473 associated with each purchase that he was

the actual transferee/buyer of each firearm, when in fact, he was buying

the firearm on behalf of others.




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                          III. CONCLUSION

            Probable cause exists that ROBERTSON violated 18 U.S.C.

§ 922(a)(6) – making a false statement during the acquisition of a

firearm – by falsely indicating that he was the actual transferee/buyer

on the ATF Form 4473s he completed in purchasing the firearms

discussed above.

                                         Respectfully submitted,



                                         ____________________________
                                         Jimmie Pharr, Special Agent,
                                         Bureau of Alcohol, Tobacco,
                                         Firearms and Explosives

Sworn to before me and signed in my presence
and/or by reliable electronic means.



HON. KIMBERLY G. ALTMAN
UNITED STATES MAGISTRATE JUDGE


Dated: April 22, 2024




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